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Experience Great Cajun & Creole Food and Recipes with Chef John Folse & Co.




                                                                              CHEF JOHN D. FOLSE, CEC, AAC

                                                                              Chef John Folse, born in St. James Parish in 1946,
                                                                              learned early that the secrets of Cajun cooking lay
                                                                              in the unique ingredients of Louisiana’s swamp
                                                                              floor pantry. Folse seasoned these raw ingredients
                                                                              with his passion for Louisiana culture and cuisine,
                                                                              and from his cast iron pots emerged Chef John
                                                                              Folse & Company.

                                                                       When Folse opened Lafitte’s Landing Restaurant in
                                                                       1978 in Donaldsonville, he set out to market his
                                                  restaurant by taking “a taste of Louisiana” worldwide. He introduced
                                                  Louisiana’s indigenous cuisine to Japan in 1985, Beijing in 1986 and
                                                  Hong Kong and Paris in 1987. In 1988, Folse
                                                  made international headlines with the opening
                                                  of “Lafitte’s Landing East” in Moscow during
                                                  the Presidential Summit between Ronald
                                                  Reagan and Mikhail Gorbachev. In 1989, Folse
                                                  was the first non-Italian chef to create the
                                                  Vatican State Dinner in Rome. Promotional
                                                  restaurants also included London in 1991 and
                                                  1993, Bogota in 1991, Taipei in 1992 and 1994
                                                  and Seoul in 1994. In 1988, the Sales and
                                                  Marketing Executives of Greater Baton Rouge
                                                  named Folse “Marketer of the Year” and the
                                                  Louisiana Legislature gave him the title of
                                                  "Louisiana’s Culinary Ambassador to the
                                                  World.”

                                                  The international success of Folse’s cornerstone property, Lafitte’s
                                                  Landing Restaurant, spawned the incorporation of several other Chef
                                                  John Folse & Company properties. White Oak Plantation in 1986
                                                  established Folse’s catering and events management division. Chef
                                                  John Folse & Company Publishing, since 1989, has produced eight
                                                  cookbooks in his Cajun and Creole series, plus a novel, two children’s
                                                  books and a religious memoir by other authors. “A Taste of Louisiana”
                                                  is Folse’s international television series produced by Louisiana Public
                                                  Broadcasting since 1990. Chef John Folse & Company Manufacturing,
                                                  since 1991, is one of the few chef-owned food manufacturing
                                                  companies in America producing custom-manufactured foods for the
                                                  retail and food service industry. In January 2005 a new USDA
                                                  manufacturing plant opened in Donaldsonville, and in 2007 growing
                                                  demands pushed the plant to expand. In 2008, Folse cut the ribbon of
                                                  his expanded 68,000 square-foot food manufacturing plant.

                                                  The Chef John Folse Culinary Institute at Nicholls State University in
                                                  Thibodaux, La., opened in October 1994 and is dedicated to the
                                                  preservation of Louisiana's rich
                                                  culinary and cultural heritage. In
                                                  August 1996, Folse began
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                                                  August 1996, Folse began
                                                  broadcasting his radio cooking talk
                                                  show, “Stirrin’ It Up.” In 2001,
                                                  “Stirrin’ It Up” expanded to a
                                                  television cooking segment during
                                                  the 5 p.m. newscast on WAFB-TV
                                                  Channel 9 in Baton Rouge, La.

                                                  Exceptional Endings, the pastry division, was launched in 1996 to
                                                  create specialty desserts, pastries and savories. In October 1998, a
                                                  fire destroyed the 200-year-old Viala Plantation, which housed Lafitte’s
                                                  Landing Restaurant, and in May 1999 Folse opened his former
                                                  Donaldsonville home as Lafitte’s Landing Restaurant at Bittersweet
                                                  Plantation offering fine dining and bed and breakfast accommodations.
                                                  In the year 2000, Folse incorporated Digi-Tek Productions, a full
                                                  service digital recording studio. Expanding on the catering services of
                                                  White Oak Plantation, Chef John FOLSEvents Management & Catering
                                                  fulfills the special events needs of clients both regionally and
                                                  nationally. In 2002, Bittersweet Plantation Dairy opened, offering a full
                                                  line of fresh and aged cheeses.

                                                  Folse has received numerous national and international accolades. In
                                                  1987, the Louisiana Restaurant Association named him “Louisiana
                                                  Restaurateur of the Year.” In 1989, Nation’s Restaurant News inducted
                                                  Lafitte’s Landing Restaurant into its “Fine Dining Hall of Fame.” In
                                                  1990, the American Culinary Federation (ACF) named Folse the
                                                  “National Chef of the Year.” In 1992, Johnson & Wales University in
                                                  Providence, R.I., recognized Folse with an honorary doctor of Culinary
                                                  Arts Degree, as did Baltimore International Culinary College in 1995.
                                                  In 1994, he assumed the role as national president of the American
                                                  Culinary Federation, the largest organization of professional chefs in
                                                  America. In 1995, Folse was one of 50 people recognized in Nation’s
                                                  Restaurant News’ “Profiles of Power.” In 1996, Lafitte’s Landing
                                                  Restaurant received the Award of Excellence from Distinguished
                                                  Restaurants of North America (DiRōNA). Folse served two terms as
                                                  DiRōNA Chairman from 2000 to 2001, and he served on the National
                                                  Dairy Council Chef’s Advisory Panel. In 1998, Chef John Folse &
                                                  Company Manufacturing received TGI Friday’s Inc. Procurement
                                                  Product Development Award for assisting in the development of
                                                  Friday’s Jack Daniels© Glaze. In 1998, Food Arts magazine awarded
                                                  Folse the “Silver Spoon Award” for his sterling performance and
                                                  contributions to the food service industry. In 1999, the Research Chefs
                                                  Association (RCA) named Chef John Folse & Company "Pioneers in
                                                  Culinology" because of the efforts of Folse's culinary research team. In
                                                  2001, Folse was elected to RCA’s Board of Directors. In November
                                                  1999, the Acadiana Chapter of the American Culinary Federation
                                                  inducted Folse into the Louisiana Chef's Hall of Fame for his lifetime
                                                  contributions to the promotion of Louisiana cuisine. Additionally, Folse
                                                  received the Antonin Carême Medal in November 2000. Folse also
                                                  served as president of RCA. In 2007, Folse served as the American
                                                  Judge for the Bocuse d’Or World Cuisine Contest in Lyon, France. In
                                                  October 2008 Folse was awarded the Louisiana Governor’s Cultural
                                                  Economic Development Arts Award and Southern Foodways Alliance
                                                  Lifetime Achievement Award.


                                                  Thirty years of culinary excellence later, Folse is still adding
                                                  ingredients to the corporate gumbo he calls Chef John Folse &
                                                  Company, which is as diverse as the Louisiana landscape, and he
                                                  would not want it any other way.

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Experience Great Cajun & Creole Food and Recipes with Chef John Folse & Co.




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                                             2517 South Philippe Ave. • Gonzales, LA 70737 • (225) 644-6000 • FAX (225) 644-1295




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              Chef%John%Folse%&%Company,%LLC%
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 Chef%Owned%&%Operated%USDA%Cook%&%Chill%Manufacturing%Plant%located%in%
 Donaldsonville,%LA%%%
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 Content!from!Chef!John!Folse!&!Company!
 (http://www.jfolse.com/newusda/index.htm)!
 !
 At!Chef!John!Folse!&!Company,!we!are!committed!to!providing!the!exceptional!
 service!and!quality!products!that!our!distinguished!clientele!have!come!to!expect.!
 Let!us!expand!our!wealth!of!experience!into!a!successful!business!venture!with!you.!
 Where!success!meets,!great!relationships!grow.!
 !
 The!food!manufacturing!and!sales!division!of!Chef!John!Folse!&!Company!was!
 created!in!1990!by!Chef!John!Folse!based!on!his!vision!of!a!changing!food!industry!in!


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 America.!From!its!humble!beginnings,!the!manufacturing!division!has!grown!to!
 national!prominence!with!a!customer!base!extending!from!the!Gulf!Coast!to!the!
 Canadian!borders!and!from!the!West!Coast!to!the!Eastern!seaboard.!The!
 manufacturing!of!entrées,!vegetables,!soups,!sauces!and!specialty!products!for!
 foodservice!distribution,!retail!sales!and!national!restaurant!chains!forms!the!
 foundation!of!our!organization.!
 !
 Our!USDA!cook!and!chill!manufacturing!plant!in!Donaldsonville!is!capable!of!
 producing!150!tons!of!fullyVcooked!and!readyVtoVserve!products!weekly.!From!our!
 stateVofVtheVart!Chester!Jenson!kettles!to!our!Cryovac!OnVPack!2000!packaging!
 system,!our!plant!is!designed!to!exceed!USDA!standards.!Our!Quality!Assurance!
 Department!is!our!tool!to!ensure!this.!
 !
 Plant%Floor%
 Our!USDA!manufacturing!facility!is!capable!of!producing!50!million!pounds!of!frozen!
 or!fresh,!fully!cooked!and!ready!to!serve!product!on!a!single!shift!per!year.!Our!
 packaging!capacity!ranges!from!cryovac!boilVinVtheVbag!to!55Vgallon!drums,!as!each!
 customer's!needs!are!different.!Our!minimum!batch!size!for!specialty!product!is!
 1000!pounds,!or!62!(16Vpound)!cases.!!
 !
                   Chef%John%Folse%&%Company%Products:%
 %
 Food%Service%Line:%
 !      !
 Chef!John!Folse!&!Company!Manufacturing!services!a!wide!variety!of!customers!in!
 the!foodservice!industry,!from!your!favorite!casino!buffet!to!the!restaurant!down!
 the!street,!you!will!find!Chef!John!Folse!&!Company!products!on!the!menu.!People!
 everywhere!are!enjoying!our!products:!residents!in!nursing!homes!and!employees!
 at!manufacturing!facilities,!hospitals!and!many!other!places!of!business.!
 !
 The!diversity!of!customers!is!not!just!in!the!type!of!patron!but!also!in!the!areas!
 serviced.!You!can!find!Chef!John!Folse!&!Company!products!all!over!the!map!from!
 Las!Vegas!to!Kansas!City.!If!we!are!not!in!your!neighborhood!now,!we!will!be!soon.!
 !
 Soups
     1. Bourbon Street Seafood Gumbo (CJF item #3044311) Nothing says
         Louisiana better than a steaming bowl of seafood gumbo. Shrimp and
         crab are combined with the smoky flavored andouille sausage, onions,
         celery, bell pepper and garlic to finish this classic bayou dish.

     2. Bourbon Street Seafood Gumbo Base - no protein (CJF item
         #3044339) Sought out by visitors from all over the world, gumbo remains
         the most popular dish in South Louisiana. Whether you add chicken,
         sausage or game, you'll find this base perfect for your special version.




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     3. Acadiana-style Seafood Gumbo (CJF item #3044395) A South
         Louisiana favorite, crab, shrimp and okra are combined in a rich seafood
         broth thickened with a dark Cajun roux, the inclusion of the trinity (onions,
         celery and bell pepper) round out the flavors of this Cajun classic.

     4. Seafood Bisque Base - no protein (CJF item #3044346) Nothing says
         Louisiana better than a steaming bowl of seafood gumbo. Shrimp and
         crab are combined with the smoky flavored andouille sausage, onions,
         celery, bell pepper and garlic to finish this classic bayou dish.

     5. Plantation-style Chicken and Sausage Gumbo (CJF item #3044326)
           A classic dark brown roux simmering with onions, celery and bell
           pepper is combined with boneless chicken and andouille sausage to
           create this Louisiana favorite.

     6. Louisiana Chicken and Sausage Gumbo (CJF item #3044396)
          Our newest version of this Creole Classic is spicy and smooth. It
          begins with a dark Cajun roux base.

     7. Creole Corn and Shrimp Soup (CJF item #3044315) With a medley of
         shrimp and corn accented by a hint of tomatoes and a blend of herbs, it is
         no wonder that Corn & Shrimp Soup is as popular in Louisiana as
         Gumbo.

     8. Crawfish, Corn and Potato Soup (CJF item #3044314) The main social
         event of Cajun Country, the crawfish boil, is captured in the combination
         of the three main ingredients of the boil simmered in crawfish stock and
         cream. When flavored with a hint of Zatarain's Liquid Crab Boil spice, it's
         as close as you'll get to Bayou Country.

     9. "Olde" Tyme Baked Potato Soup (CJF item #3044331)
        Remember the aroma of hot baked potatoes fresh from the oven? This is
        the flavor we have recreated by combining potatoes, smoky bacon and
        sweet cream, just like in the "olde" days!
     10. Creole Onion Soup (CJF item #3044347)
         Our Creole Onion Soup is made with simmering beef stock chock full of
         onions, garlic, red wine and herbs. When finished in your kitchen, top with
         toasted French bread and Parmesan cheese.
     11. Tomato Bisque (CJF item #1044118) Tomato soup in its most refined
         form. Creamy and rich with creole seasonings to complement that
         luscious tomato flavor. Enjoy as is or add shrimp—it is truly special either
         way.




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     12. Sweet Corn and Crab Bisque (CJF item #3044379) Many said this dish
         was born in the cast iron pots of Louisiana. Recreating this magnificent
         soup is a Louisiana "Birth right." The marriage of rich crab stock, white
         crabmeat and sweet golden corn come together to create an explosion of
         flavor in the pot. You may have eaten corn and crab soup, but you havn't
         sampled any this good.

     13. Sweet Corn, Crab and Shrimp Bisque (CJF item #3044341)
           A classic Louisiana style creamy bisque by birthright. This particular
           soup explodes with flavor when we add sweet golden corn with gulf
           crab and shrimp. You won't taste many this good.

     14. Grilled Chicken Tortilla Soup (CJF item #3044495)
           We have combined this Tex-Mex recipe with Louisiana flavor. You'll
           feel as though you are on the border when this creation hits your taste
           buds.

     15. Red Bean and Sausage Soup (CJF item # 3044409)

     16. Broccoli, Cheese and Bacon Soup (CJF item #5044321)
           When the trinity of onions, celery and bell peppers is combined with
           broccoli florets, minced carrots and cheddar cheese, a soup unlike any
           other emerges from our black iron pots.

     17. Bayou Garden Vegetable and Beef Soup (CJF item #3044325)
           This recreation of a Cajun favorite combines fresh sweet potatoes,
           squash, zucchini, carrots, broccoli, cauliflower, okra and red beans
           with tender sirloin strips and a rich beef stock to give this soup the
           perfect finish.

 Sauces

     18. Veal Demi-Glace (CJF item #3044440)
         A true fully prepared demi-glace? Yes!! This rich veal stock twice reduced
         becomes the mother sauce for most classical brown sauces. One taste
         and you'll know that this sauce is authentic.

     19. Hollandaise (CJF item #3044369)
         Our version of the culinary classic is smooth, rich and creamy and
         resistant to separation under high heat.

     20. Bechamel (CJF item #3044358)
         The richness and roundness of flavor in this product is a great starting
         point for any cream sauce.

     21. Sicilian-style Marinara Sauce (CJF item #3044338)
         Unlike its sweet, smooth American cousin, this island-style marinara is


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        chock-full of chunky Roma tomatoes with a slight touch of acidity just as
        the Sicilians love their spaghetti sauce.

     22. Italian-style Marinara Sauce (CJF item #3044322)
         A robust and flavorful tomato sauce prepared with diced tomatoes and
         fresh herbs.

     23. Alfredo Sauce (CJF item #3044332)
         What more can we say? This is the traditional sauce of Rome—cream
         lightly boiled with butter, cheese, egg yolk and herbs. Add a Bayou
         Country twist with a touch of diced tasso.

     24. Acadiana Crawfish Sauce (CJF item #3044447)
         A magnificent combination of crab, shrimp and crawfish stock married
         with classical herbs and spices. We recommend this sauce as the perfect
         accompaniment under fish or chicken and should be considered the ideal
         pasta sauce when using vegetables and shellfish.

     25. Creole-style Remoulade Sauce (CJF item #3044056)
         Our New Orleans style remoulade sauce is spicy mustard and
         mayonnaise based sauce, sweetened with a bit of ketchup, fresh herbs
         and seasoning. Remoulade sauce is delicious served as a dipping sauce
         with shrimp, crabs or served over salads.

     26. New Orleans-style White Remoulade Sauce (CJF item #3044343)
         New Orleans has two classic rémoulades: the red, sweet tomato-based
         sauce and the white, spicy rémoulade featured at most great New
         Orleans eateries. The white rémoulade is flavored with Creole mustard
         and horseradish and is most often served with boiled seafood or
         Louisiana crab cakes.

     27. New Orleans Creole Sauce (CJF item #3044352)
         A versatile and spicy tomato sauce made with brown roux, onions, celery,
         bell peppers, garlic, shrimp stock and seasonings. Adding shrimp or any
         seafood will round this dish out beautifully.

     28. Southern-style Turkey Gravy (CJF Item #3044406)
         Classic giblet gravy flavored with slow roasted vegetables and aromatic
         spices.

     29. Mushroom Gravy (CJF Item #3044424)
         A savory sauce of button mushrooms, enhanced with onions and garlic.




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 Red Beans

     30. French Market Red Beans (CJF item #3044319)
         Just enough andouille sausage is added to this Monday lunch favorite to
         give it flavor. We recommend serving a link of heavily smoked sausage
         on the side.

     31. New Orleans-style Red Beans (CJF item #3044385)
         This version uses turkey sausage for it’s flavor and was created for our
         customers in need of pork-free items.

     32. Louisiana Red Beans and Sausage (CJF item #3044432)
         Sliced smoked sausage has been added to this version. Just ladle it over
         steamed white rice for the perfect lunch entree.

 Entrées

     33. Louisiana-style Crawfish Etouffee (CJF item #3044433)
         Crawfish (CJF item #3044323)
         Many etouffees with an origin from deep in the swamps of Louisiana start
         with a darker roux than the Creoles of New Orleans. This nutty-flavored
         concoction is what gives the Cajun etouffees, as this fantastic version
         with crawfish, their unique flavor you just don't find outside Louisiana.

     34. Bayou Country Crawfish Etouffee (CJF item #3044394)
         A staple on the bayou country table. This Etouffee is seasoned with ripe
         tomatoes and spiced with parsley, thyme and bay leaves.

     35. Bayou Country Shrimp Creole (CJF item #3044328)
         As common as Red Beans and Rice on Mondays, Shrimp Creole can be
         found on tables throughout Louisiana for Friday lunch or dinner. Our
         version combines sautéed gulf shrimp with tomatoes, onions, celery, bell
         peppers and garlic to create this classic Creole dish.

     36. Dressing MIx for Dirty Rice (CJF item #3044477)
         Rarely would a holiday table be set without this Louisiana staple. We
         prepare a slow-cooked dressing of beef, pork and chicken livers. To
         serve, simply heat the dressing mix and combine with steamed white rice,
         prepared separately, for a wonderful marriage of flavors that makes any
         day feel like a holiday.

     37. Chicken Pot Pie Filling (CJF item #3044481)
         What could one do to enhance the flavor of this traditional family favorite?
         Well, first you add a rich chicken stock along with fresh sweet peas,
         potatoes and carrots. Then, you blend it with a butter roux and finish it
         with sweet whipping cream. Now, that’s an improvement.


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     38. River Road Shrimp Stew (CJF item #5044313)
         Rarely can a week go by in South Louisiana where you cannot find
         shrimp stew in someone's pot on the Mississippi River Road. You will find
         no potatoes or carrots in the stews of the southern parishes. We begin
         with a traditional dark brown roux and end with a unique flavor that you
         won't soon forget.

     39. Fiesta Chili with Beans (CJF item #5044377)

 Jambalaya

     40. Jambalaya or Pastalaya Base with Tasso & Andouille (CJF item
         #3044324)
         Creole Style Rice Base (red) with Tasso and Andouille
         Jambalaya has become the best-known rice dish in America. This Cajun
         classic combines tasso, andouille and chicken into a tasty “one pot meal”
         as the Cajuns did or as an authentic side dish like the Creoles. We’ve
         added a recipe for using your favorite pasta in place of rice for another
         unique and interesting option.

     41. World Champion Jambalaya Base (CJF item #30445373)

     42. Jambalya Base with Chicken and Smoked Sausage (CJF item
         #3044388) Cajun Style Rice Base (brown) with Chicken and Smoked
         Sausage
         Jambalaya has become the best-known rice dish in America. This Cajun
         classic combines chicken and smoked sausage into a tasty “one pot
         meal” as the Cajuns did or as an authentic side dish like the Creoles.
         With our version, simply fold in cooked rice and enjoy.

 Vegetables

     43. Corn Maque Choux (CJF item #0044052)
         Exactly how the Indian word for corn, Maque, and the French word for
         cabbage, Choux, became the name of this corn and tomato dish is a
         mystery to us in Cajun Country. The early explorers found this interesting
         combination of corn and tomatoes strange but delicious. Today, it is one
         of Louisiana's favorite vegetable dishes.

     44. Sweet Potato Souffle (CJF Item #3044001)
         Luxuriously smooth and rich purée of sweet potatoes with a touch of
         cinnamon and other spices.

     45. Okra and Tomatoes (CJF Item #3044370)
         Tender cuts of okra slowly simmered in a Creole-style sauce of tomatoes
         and aromatic vegetables.



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     46. Carrot Souffle (CJF Item #3044356)
         A silky smooth puree of carrots sweetened with vanilla. This airy mixture
         bakes to a beautiful golden brown and is sure to please any palate.

 Rouxs
     47. Cajun Dark Brown Roux (CJF item #400361)
         Classic Cajun dark brown roux with onions, celery and bell peppers.
         Perfect for gumbos, stews, fricassees and any dish requiring a dark roux.
         Packed 50 lbs.

     48. Creole Butter Roux (CJF item #400371)
         Slow cooked and perfect for all light roux dishes. Packed 50 lbs.

     49. Blonde Roux (CJF item #400351)
         Our lightest roux, the blond roux is perfectly blended, but never allowed
         to brown. Packed 50 lbs.

 Miscellaneous
     50. Bourbon Whiskey Sauce (CJF item #3044006)

     51. Spinach and Artichoke Dip (CJF item #3044427)
         This classic marriage of two vegetables was first seen in New Orleans in
         the early 1800s. Our rich dip is further enhanced with Pecorino Romano,
         Mozzarella and Parmesan cheeses. Serve it hot as a dip or thin it with
         stock and cream for a beautifully flavored impromptu soup.

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 Seafood Products for Sale Through Online Company Store:

     1. Acadiana Seafood Gumbo 64 oz. Bag: This product is packaged in a
        cryovac boiling bag, 16 servings from freezer to table in 15 minutes.
        Code: 3000
        Price: $24.99
        Shipping Weight: 8

     2. Acadiana Seafood Gumbo 28 oz. Tub: Nothing says Louisiana better
        than a steaming bowl of seafood gumbo. Shrimp and crab are combined
        with smoked andouille sausage, onions, celery, bell pepper and garlic to
        finish this classic bayou dish. This product is packaged in a cryovac
        boiling bag,7 servings from freezer to table in 15 minutes.
        Code: 3001
        Price: $16.99
        Shipping Weight: 5.00


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     3. Creole Corn & Shrimp Soup 64 oz. Bag: With a medley of shrimp and
        corn accented by a hint of tomatoes and a blend of herbs, it is no wonder
        that corn & shrimp soup is as popular in Louisiana as Gumbo. This
        product is packaged in a cryovac boiling bag, from freezer to table in 15
        minutes.
        Code 3002
        Price $24.99
        Shipping Weight 8

     4. Creole Corn & Shrimp Soup 28 oz. Tub: With a medley of shrimp and
        corn accented by a hint of tomatoes and a blend of herbs, it is no wonder
        that corn & shrimp soup is as popular in Louisiana as Gumbo. This
        product is packaged in a cryovac boiling bag, 7 servings from freezer to
        table in 15 minutes.
        Code 3003
        Price $16.99
        Shipping Weight 5

     5. Crawfish, Corn & Potato Soup 64 oz. Bag: The main social event of
        Cajun Country, the crawfish boil, is captured in the combination of the
        three main ingredients of the boil simmered in crawfish stock and cream.
        When flavored with a hint of Zatarains Liquid Crab Boil spice, it's as close
        as you'll get to Bayou Country. This product is packaged in a cryovac
        boiling bag, from freezer to table in 15 minutes.
        Code 3004
        Price $26.99
        Shipping Weight 8

     6. Crawfish, Corn & Potato Soup 64 oz. Bag: The main social event of
        Cajun Country, the crawfish boil, is captured in the combination of the
        three main ingredients of the boil simmered in crawfish stock and cream.
        When flavored with a hint of Zatarains Liquid Crab Boil spice, it's as close
        as you'll get to Bayou Country. This product is packaged in a cryovac
        boiling bag, from freezer to table in 15 minutes.
        Code 3004
        Price $26.99
        Shipping Weight 8

     7. Crawfish, Corn & Potato Soup 28 oz. Tub: The main social event of
        Cajun Country, the crawfish boil, is captured in the combination of the
        three main ingredients of the boil simmered in crawfish stock and cream.
        When flavored with a hint of Zatarains Liquid Crab Boil spice, it's as close
        as you'll get to Bayou Country. This product is packaged in a cryovac
        boiling bag, from freezer to table in 15 minutes.
        Code 3005



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        Price $16.99
        Shipping Weight 5

     8. Sweet Corn & Crab Bisque 28 oz. tub: Many said this dish was born in
        the cast iron pots of Louisiana. Recreating this magnificent soup is a
        Louisiana "birthright." The marriage of rich crab stock, white crabmeat and
        sweet golden corn come together to create an explosion of flavor in the
        pot. You may have eaten corn and crab soup, but you haven't sampled
        any this good.
        Code 3008
        Price $16.99
        Shipping Weight 5

     9. Sweet Corn & Crab Bisque 64 oz. Bag: Many said this dish was born in
        the cast iron pots of Louisiana. Recreating this magnificent soup is a
        Louisiana "birthright." The marriage of rich crab stock, white crabmeat and
        sweet golden corn come together to create an explosion of flavor in the
        pot. You may have eaten corn and crab soup, but you haven't sampled
        any this good.
        Code 3009
        Price $26.99
        Shipping Weight 8

     10. Louisiana Style Crawfish Etouffe 28 oz. Tub: any etouffes with an origin
         from deep in the swamps of Louisiana start with a darker roux than the
         Creoles of New Orleans. This nutty flavored concoction is what gives the
         Cajun etouffes, like this fantastic version with crawfish, its unique flavor
         you just don't find outside Louisiana. This product is packaged in a
         cryovac boiling bag, from freezer to table in 15 minutes.
         Code 4001
         Price $16.99
         Shipping Weight 5

     11. Louisiana Style Crawfish Etouffe 64 oz. Bag: any etouffes with an
         origin from deep in the swamps of Louisiana start with a darker roux than
         the Creoles of New Orleans. This nutty flavored concoction is what gives
         the Cajun etouffes, like this fantastic version with crawfish, its unique
         flavor you just don't find outside Louisiana. This product is packaged in a
         cryovac boiling bag, from freezer to table in 15 minutes.
         Code 4000
         Price $26.99
         Shipping Weight 8


 Entrées



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     12. Louisiana Style Crawfish Etouffe 28 oz. Tub
         Many etouffes with an origin from deep in the swamps of Louisiana start
         with a darker roux than the Creoles of New Orleans. This nutty flavored
         concoction is what gives the Cajun etouffes, like this fantastic version with
         crawfish, its unique flavor you just don't find outside Louisiana. This
         product is packaged in a cryovac boiling bag, from freezer to table in 15
         minutes.
         Code: 4001
         Price: $16.99
         Shipping Weight: 5.00

     13. French Market Red Beans 64 oz. Bag
         In Louisiana, red beans, rice and sausage are as common on Monday as
         the New Orleans Jazz Brunch is on Sunday. Our red beans are simmered
         with onions, celery, bell peppers, garlic and diced andouille for the perfect
         smoked flavor. We recommend serving a link of heavy smoked sausage
         on the side. This product is packaged in a cryovac boiling bag, from
         freezer to table in 15 minutes.
         Code: 4004
         Price: $24.99
         Shipping Weight: 8.00
     14. New Orleans Red Beans with Smoked Sausage 28 oz. Tub
         Our red beans are simmered with onions, celery, bell peppers, garlic and
         sliced smoked sausage for the perfect smoked flavor. Just ladle it over
         steamed white rice for the perfect lunch entrée. This product is packaged
         in a cryovac boiling bag, from freezer to table in 15 minutes.
         Code: 4005
         Price: $16.99
         Shipping Weight: 5.00

     15. Creole Jambalaya Mix 64 oz. Bag
         Jambalaya has become the best known rice dish in America. This classic
         combines tasso, andouille and chicken into a tasty "one pot meal" as the
         Cajuns did or as an authentic side dish like the Creoles. This Creole style
         jambalaya is characterized by a smooth tomato base. All you need to do is
         add two cups of uncooked rice or three cups of uncooked pasta to create
         a fabulous meal.
         Code: 4006
         Price: $24.99
         Shipping Weight: 8.00




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 Retail Sales Product List (sold to grocery stores, etc):

 Chef John Folse & Company Manufacturing began producing retail products in
 1994 and selling labeled 64-ounce Cryovac boiling bags. Due to the continued
 growth of retail sales, Chef John Folse created a new package in 1999. The
 boiling bag continues to sell well in the southern region, but the new 28-ounce
 tub can be purchased at major grocery chains in Missouri, Oklahoma, Arkansas,
 Tennessee, Kansas, Texas, Mississippi, Alabama, Georgia, Florida, South
 Carolina, and of course, Louisiana.

 Our products can also be found in your favorite grocer's deli department served
 as part of their lunch or dinner specials or also as part of their home meal
 replacement program.
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 Retail Tubs
     1. NEW! Crawfish Bisque - seasonal (6, 22 oz) Many trace the origin of this
        dish to Nantua, France, where crawfish or lobster meat was puréed into
        quenelles, then cooked in a rich, shellfish-based cream or Nantua sauce.
        Here in Louisiana, crawfish bisque is a Lenten tradition often found on Good
        Friday and Easter Sunday tables. Cajun families gather the week before
        Easter to boil the crawfish, grind the tail meat with seasonings then stuff the
        mixture into the shells. These stuffed “heads” are then simmered in a rich,
        roux-based crawfish sauce.

     2. Creole Corn & Shrimp (6, 28 oz): With a medley of shrimp and corn
        accented by a hint of tomatoes and a blend of herbs, it is no wonder that
        Corn & Shrimp Soup is as popular in Louisiana as Gumbo.

     3. Acadiana Seafood Gumbo (6, 28 oz) A South Louisiana favorite, crab,
        shrimp and okra are combined in a rich seafood broth thickened with a dark
        Cajun roux, the inclusion of the trinity (onions, celery and bell pepper) round
        out the flavors of this Cajun classic.

     4. Crawfish, Corn & Potato Soup (6, 28 oz) The main social event of Cajun
        Country, the crawfish boil, is captured in the combination of the three main
        ingredients of the boil simmered in crawfish stock and cream. When flavored
        with a hint of Zatarain's Liquid Crab Boil spice, it's as close as you'll get to
        Bayou Country.

     5. Louisiana Style Crawfish Etouffee (6, 28 oz) Many etouffees with an origin
        from deep in the swamps of Louisiana start with a darker roux than the
        Creoles of New Orleans. This nutty-flavored concoction is what gives the
        Cajun etouffees, as this fantastic version with crawfish, their unique flavor
        you just don't find outside Louisiana.




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     6. Sweet Corn & Crab Bisque (6, 28 oz) A classic Louisiana style creamy
        bisque by birthright. This particular soup explodes with flavor when we add
        sweet golden corn with gulf crab and shrimp. You won't taste many this
        good.


 Retail Soups

     7. Bourbon Street Seafood Gumbo (4, 4 lb boiling bags)
        Nothing says Louisiana better than a steaming bowl of seafood gumbo.
        Shrimp and crab are combined with the smoky flavored andouille sausage,
        onions, celery, bell pepper and garlic to finish this classic bayou dish.

     8. Acadiana-style Seafood Gumbo (4, 4 lb boiling bags)
        A South Louisiana favorite, crab, shrimp and okra are combined in a rich
        seafood broth thickened with a dark Cajun roux, the inclusion of the trinity
        (onions, celery and bell pepper) round out the flavors of this Cajun classic.

     9. Plantation-style Chicken and Sausage Gumbo (4, 4 lb boiling bags)
        A classic dark brown roux simmering with onions, celery and bell pepper is
        combined with boneless chicken and andouille sausage to create this
        Louisiana favorite.


     10. Louisiana Chicken and Sausage Gumbo (4, 4 lb boiling bags)
         Our newest version of this Creole Classic is spicy and smooth.

     11. Creole Corn and Shrimp Soup (4, 4 lb boiling bags)
         With a medley of shrimp and corn accented by a hint of tomatoes and a
         blend of herbs, it is no wonder that Corn & Shrimp Soup is as popular in
         Louisiana as Gumbo.

     12. "Olde" Tyme Baked Potato Soup (4, 4 lb boiling bags)
         Remember the aroma of hot baked potatoes fresh from the oven? This is the
         flavor we have recreated by combining potatoes, smoky bacon and sweet
         cream, just like in the "olde" days!

     13. Sweet Corn and Crab Bisque (4, 4 lb boiling bags)
         Many said this dish was born in the cast iron pots of Louisiana. Recreating
         this magnificent soup is a Louisiana "Birth right." The marriage of rich crab
         stock, white crabmeat and sweet golden corn come together to create an
         explosion of flavor in the pot. You may have eaten corn and crab soup, but
         you havn't sampled any this good.

     14. Broccoli, Cheese and Bacon Soup (4, 4 lb boiling bags)
         When the trinity of onions, celery and bell peppers is combined with broccoli


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        florets, minced carrots and cheddar cheese, a soup unlike any other
        emerges from our black iron pots.

     15. Crawfish, Corn and Potato Soup (4, 4 lb boiling bags)
         The main social event of Cajun Country, the crawfish boil, is captured in the
         combination of the three main ingredients of the boil simmered in crawfish
         stock and cream. When flavored with a hint of Zatarain's Liquid Crab Boil
         spice, it's as close as you'll get to Bayou Country.




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                Chefs: ‘Real gumbo’ heads to
                England




                Show caption
                Advocate staff photo by ADAM LAUChefs John Folse and Calvin Coleman, from left, add alligator sausage
                to an Olympic-size batch of gumbo at the Chef John Folse & Co. manufacturing plant outside
                Donaldsonville on July 17. The two will be heading to London as part of BP's "Spirit of the Gulf" program to
                feed Team USA, families, and visitors at the 2012 Summer Olympics.



                BY BETH COLVIN
                Assistant Food editor

                Chef John Folse is among a cadre of Gulf Coast chefs who will journey to the Olympics
                as part of BP’s “Spirit of the Gulf” series of events for Team USA.

                The group, including Folse and Galatoire’s Michael Sichel from Louisiana, chefs Chris
                Sherrill and Alec Naman from Alabama, Mississippi chefs Chris Poplin and Calvin
                Coleman, and chef Paul Stellato of Florida, will prepare fresh seafood dishes for U.S.
                Olympians, their families and visitors.


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                “We got some real gumbo,” Folse said. “They’re still trying to figure it out over there.
                We’re gonna bring them a taste.”

                Folse and Coleman, who operates Naomi’s Catering in Biloxi, Miss., whipped up a
                whopping batch of alligator sausage and seafood gumbo July 17. The gumbo, along
                with the other chefs’ recipes, was prepared in Folse’s Donaldsonville manufacturing
                plant, chilled to minus 40, then shipped to London via UPS.

                “You’re going to feed 1,000 athletes a day,” Folse said, but probably after they compete.
                “All the chefs have great catering experience and are used to volume feeding. But we
                don’t want to find ourselves chopping onions.”

                Folse called on his company’s experience catering international events to pull off a fais
                do do of Olympic proportions. The recipes had to be tweaked to comply with USDA
                and U.K. food laws. For instance, Coleman’s gumbo couldn’t contain the oysters he
                originally planned and his sausage had to be special ordered to omit processed pork.

                “The reputation of John Folse had a lot to do with this,” Coleman said. “One mistake
                and we got 30 pounds of gumbo sitting on a dock.”

                Folse said the logisitics of getting that much Gulf seafood to London took a lot of skill
                and a lot of trust.

                “We all know what we want. The chefs put a lot of trust in us here,” Folse said. “It’s
                authentically produced as the chef would have it done.”

                Coleman couldn’t stop grinning once all 160 pounds of his gumbo, prepared using his
                grandmother’s recipe, was done and out of its enormous kettle. “This is the same way I
                make a gallon,” he said as the vat of steaming gumbo was weighed and wheeled off for
                packaging. “It’s perfect.”

                Once packaged, it was put into color-coded boxes and flash frozen for shipping. The
                frozen boxes will then go across the pond, where they will be met by Mosimann’s,
                headed up by Sir Anton Mosimann.


                What’s on Lolo’s plate?
                Veteran Olympian and former LSU hurdler Lolo Jones is familiar with eating Olympic-
                style.

                “It’s kind of like eating in a college cafeteria, just exponentially huge,” she said of
                noshing in the Olympic Village. “Instead of different fraternities or whatever, you have

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                athletes from different countries speaking different languages.”

                And there’s always at least one familiar face. “Just in case there’s nothing you’re
                familiar with, everybody is familiar with McDonald’s,” she said.

                While British food may get a bum rap, Jones says there’s one thing they do well: sugar.

                “They have some of the most amazing chocolate cake, it’s weird. At the meets I’ve been
                there for, they always have chocolate cake,” she said. “The Brits love their sweets. They
                absolutely love their sugar stuff. So it’s a good place to end a race because you can just
                indulge in everything — tea, biscuits and just amp up on the sugar.”

                Let’s hope she ends her races in gold.

                Advocate staff writer Sheldon Mickles contributed
                to this report.


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                  ATTACHMENT A - SEAFOOD DISTRIBUTION CHAIN DEFINITIONS

Seafood shall be defined as fish and shellfish, including shrimp, oysters, crab, and finfish, caught in the
Specified Waters of the Gulf of Mexico. Seafood shall exclude menhaden.

This document shall establish Seafood distribution chain definitions, as set forth below:

1. Commercial Fishermen, Seafood Crew, Oyster Leaseholders and Seafood Vessel Owners

    Economic loss claims by Commercial Fishermen, Seafood Crew, Oyster Leaseholders and
    Seafood Vessel Owners shall be governed by the Seafood Program.

    Definitions for Commercial Fisherman, Seafood Crew, Oyster Leaseholder and Seafood Vessel
    Owner are set forth below:

        a. Commercial Fisherman shall be defined as a Natural Person or entity that holds a
           commercial fishing license issued by the United States and/or the State(s) of Alabama,
           Florida, Louisiana, Mississippi and/or Texas and derives income from catching and selling
           Seafood that he caught. The following additional definitions are relevant with regard to the
           Commercial Fisherman definition:

             i. Shrimp Fisherman shall be defined as a Commercial Fisherman that catches shrimp.

             ii. Oyster Harvester shall be defined as a Commercial Fisherman that harvests oysters.

            iii. Crab Fisherman shall be defined as a Commercial Fisherman that catches crab.

            iv. Finfish Fisherman shall be defined as a Commercial Fisherman that catches finfish.

        b. Seafood Crew shall be defined as the Seafood Boat Captain, Seafood First Mate,
           Seafood Second Mate, Seafood Boatswain, Seafood Deckhand, working for a
           Commercial Fisherman.

             i. Seafood Boat Captain shall be defined as a Natural Person who owns or operates a
                Commercial Fishing vessel. In addition, the Seafood Boat Captain may plan and
                oversee the fishing operation, the fish to be sought, the location of the best fishing
                grounds, the method of capture, the duration of the trip, and the sale of the catch. A
                person with the job of skipper will be considered to satisfy this definition.

             ii. Seafood First Mate shall be defined as a Natural Person who assists a Seafood Boat
                 Captain and assumes control of the Commercial Fishing vessel when the Seafood
                 Boat Captain is off duty, and who assists in directing the fishing operations and sailing
                 responsibilities of the Seafood Deckhands, including the operation, maintenance, and
                 repair of the vessel and the gathering, preservation, stowing, and unloading of the catch.

            iii. Seafood Second Mate shall be defined as a Natural Person who assists in performing
                 the duties of a Seafood First Mate.




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           iv. Seafood Boatswain shall be defined as a Natural Person who is a highly skilled
               Seafood Deckhand with supervisory responsibilities on a Commercial Fishing vessel,
               and who directs the Seafood Deckhands as they carry out sailing and fishing
               operations.

           v. Seafood Deckhand shall be defined as a Natural Person who provides services on
              marine vessels (not personally owned or leased) to any type of Commercial Fisherman,
              including, but not limited to, the following:

                   1.   Operating fishing gear;
                   2.   Letting out and pulling in nets and lines;
                   3.   Extracting the catch;
                   4.   Washing, salting, icing and stowing the catch;
                   5.   Ensuring the decks are clear and clean at all times;
                   6.   Loading equipment and supplies prior to departure; and/or
                   7.   Unloading the catch.

      c.   An Oyster Leaseholder shall be defined as a Natural Person or entity that is a lessee
           holding one or more private oyster leases.

      d. Seafood Vessel Owner shall be defined as a Natural Person or entity that owns a vessel
         and earns income from leasing or renting that vessel to a Commercial Fisherman and/or
         Oyster Leaseholder. A Seafood Vessel Owner may also be a Commercial Fisherman
         and/or an Oyster Leaseholder.

2. Primary Seafood Industry

   The Primary Seafood Industry shall be comprised of entities and Natural Persons that satisfy the
   definitions of Landing Site, Commercial Wholesale or Retail Dealer A, and Primary Seafood
   Processor, and Natural Persons employed by a Landing Site, Commercial Wholesale or Retail
   Dealer A, or Primary Seafood Processor, including Seafood Dockside Workers.

   Economic loss claims by entities and Natural Persons claiming losses related to business income
   required to be reported on Internal Revenue Service Form 1040 Schedules C, E or F, and that satisfy
   the Primary Seafood Industry definition above shall be compensated pursuant to the
   Compensation Framework for Business Economic Loss Claims.

   Economic loss claims by Individuals satisfying the Primary Seafood Industry definition above shall
   be compensated pursuant to the Framework for Individual Economic Loss Claims.

   Definitions of Landing Site, Commercial Wholesale or Retail Dealer A, Primary Seafood
   Processor, and Seafood Dockside Worker are set forth below:

      a. Landing Site shall be defined as a business at which boats first land their catch, including
         facilities for unloading and handling Seafood. A landing site may also include the provision
         of ice, fresh water fuel and boat repair or service in connection with the landing of Seafood.
         The following additional definition is relevant with regard to Landing Site:

            i. Seafood Dockside Worker shall be a Natural Person performing services for a Landing



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               Site.

      b. Commercial Wholesale or Retail Dealer A shall be defined as an entity or Natural Person
         that holds a commercial wholesale or retail dealer license issued by the State(s) of Alabama,
         Florida, Louisiana, Mississippi and/or Texas for which 75% or more of the 2009 cost or weight
         in pounds of the product it purchases constitutes Seafood purchased directly from
         Commercial Fisherman or Landing Site and re-sells to Primary Seafood Processors,
         Seafood Distributors, Seafood Wholesalers and Seafood Retailers.

      c.   Primary Seafood Processor shall be defined as an entity or Natural Person that receives
           and prepares Seafood purchased from a Commercial Fisherman, Landing Site, or
           Commercial Wholesale or Retail Dealer including, but not limited to, cleaning, cooking,
           canning, smoking, salting, drying or freezing, grading by size, packing storing Seafood for
           shipment.

3. Secondary Seafood Industry

   The Secondary Seafood Industry shall be comprised of entities that satisfy the definitions of
   Commercial Wholesale or Retail Dealer B, Secondary Seafood Processor, Seafood Wholesaler
   or Distributor, and Seafood Retailer, and Natural Persons employed by a Commercial Wholesale
   or Retail Dealer B, Secondary Seafood Processor, Seafood Wholesaler or Distributor, or
   Seafood Retailer.

   Economic loss claims by entities and Natural Persons claiming losses related to business income
   required to be reported on Internal Revenue Service Form 1040 Schedules C, E or F, and that satisfy
   the Secondary Seafood Industry definition above shall be compensated pursuant to the
   Compensation Framework for Business Economic Loss Claims.

   Economic loss claims by Individuals satisfying the Secondary Seafood Industry definition above
   shall be compensated pursuant to the Framework for Individual Economic Loss Claims.

   Definitions of Commercial Wholesale or Retail Dealer B, Secondary Seafood Processor,
   Seafood Wholesaler or Distributor, and Seafood Retailer are set forth below:

      a. Commercial Wholesale or Retail Dealer B shall be defined as an entity or Natural Person
         that holds a commercial wholesale or retail dealer license issued by the State(s) of Alabama,
         Florida, Louisiana, Mississippi and/or Texas for which less than 75% of the cost or weight in
         pounds of the product it purchases constitutes Seafood purchased directly from a
         Commercial Fisherman or Landing Site, and re-sells to Primary Seafood Processors,
         Seafood Distributors, Seafood Wholesalers and Seafood Retailers.

      b. Secondary Seafood Processor shall be defined as an entity or Natural Person that
         purchases Seafood from a Primary Seafood Processor in order to add further value
         including, but not limited to, cleaning, cooking, canning, smoking, salting, drying or freezing,
         grading by size packing and storing Seafood for shipment.

      c.   Seafood Wholesaler or Distributor shall be defined as an entity or Natural Person that
           purchases Seafood in bulk quantities and sells to retailers such as restaurants, fish shop and
           supermarkets.



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   d. Seafood Retailer shall be defined as an entity that is an end user of Seafood such as a
      restaurant, fish market or super market for which 25% or more of total food costs for 2009
      constitute Seafood.




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